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                             EXHIBIT A:
         Dep’t of Justice Order No. 3915-2017 (May 17, 2017)


       Defendant Concord Management and Consulting LLC’s
   Motion to Dismiss the Indictment Based on the Special Counsel’s
   Unlawful Appointment and Lack of Authority to Indict Concord,
            United States v. Internet Research Agency LLC,
                Criminal Action No. 18-00032 (DLF)
             Case 1:18-cr-00032-DLF Document 36-1 Filed 06/25/18 Page 2 of 2



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                                     ORDER NO. 3915-2017
                            APPOINTMENT OF SPECIAL COUNSEL
                    TO INVESTIGATE RUSSIAN INTERFERENCE WITH THE
                   2016 PRESIDENTIAL ELECTION AND RELATED MATTERS

       By virtue of the authority vested in me as Acting Attorney General, including 28 U.S.C.
§§ 509, 510, and 515, in order to discharge my responsibility to provide supervision and
management of the Department of Justice, and to ensure a full and thorough investigation of the
Russian govemmenfs efforts to interfere in the 2016 presidential election, I hereby order as
follows:

(a)    Robert S. Mueller III is appointed t() serve as Specia] Counsel for the United States
Department of Justice.

(b)    The Special Counsel is authorized to conduct the investigation confinned by then-FBI
Director James 8. Corney in testimony before the House Permanent Select Committee on
Intelligence on March 20, 2017, including:

       (i)         any links and/or coordination bet ween the Russian government and individuals
                   associated with the campaign of President Donald Trump; and

       (ii)        any matters that arose or may arise directly from the investigation; and

       (iii)       any other matters within the scope of 28 C.F.R. § 600.4(a).

(c)    If the Special Counsel believes it is necessary and appropriate, the Special Counsel is
authorized to prosecute federal crimes arising from the investigation of these matters.

(d)    Sections 600.4 through 600. l 0 of Title 28 of the Code of Federal Regulations are
applicable to the Special Counsel.




Date '         1
